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AO 247 (02/08)          Order Regarding Motion for Sentence Reduction


                                         UNITED STATES DISTRICT COURT
                                                  EASTERN DISTRICT OF ARKANSAS

                 UNITED STATES OF AMERICA
                                                                               ORDER REGARDING MOTION FOR SENTENCE
                                                                               REDUCTION PURSUANT TO 18 U.S.C. § 3582(c)(2)
                                 V.
                           ELIAS HILL, III                                     Case Number:         4:00CR00260-01-WRW

                                                                               USM Number:         22273-009
Date of Previous Judgment:    11/20/2003                                       HERBERT T. WRIGHT, JR.
(Use Date of Last Amended Judgment, if Applicable)                             Defendant’s Attorney


           Upon motion of         X the defendant                the Director of the Bureau of Prisons             the court
          under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that
          has subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C. §
          994(u), and having considered such motion,

          IT IS ORDERED that the motion is:
                   DENIED.
                  X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in the last
                      judgment issued) of: 94 months is reduced to 75 months (TIME SERVED (as of 03/03/2008).

          I. COURT DETERMINATION OF GUIDELINE RANGE
           Previous Offense Level(Prior toDeparture /Variance/Rule            Amended Offense Level: 33
           35): 35

           Criminal History Category: II                                      Criminal History Category:II

           Previous Guideline Range: 188 to 235 months                        Amended Guideline Range: 151 to 188 months


          II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
                   The reduced sentence is within the amended guideline range.
                  x The previous term of imprisonment imposed was less than the guideline range applicable to the
                  X
                    defendant at the time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence
                    is comparably less than the amended guideline range.

                      Other (Specify):


          III. ADDITIONAL COMMENTS


          Except as provided above, all provisions of the judgment dated 01/03/2002 shall remain in effect. The Clerk is directed to
          mail a copy of this Order to Defendant.
          IT IS SO ORDERED.
           02/27/2008                                           /s/ Wm. R. Wilson, Jr.
           Date of Order                                        Signature of Judge

           03/03/2008                                           Wm. R. Wilson, Jr., U.S. District Judge
           Effective Date (if delayed)                          Name and Title of Judge
